     Case 2:20-cv-00103-LGW-BWC Document 7-1 Filed 11/17/20 Page 1 of 5



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA

DEBORAH LAUFER,
         Plaintiff,

v.                                                        Case No: 2:20-cv-103

TRIPLE W HOSPITALITY, LLC and
DEVELOPMENT AUTHORITY OF
APPLING COUNTY,
          Defendants.

           STATEMENT MADE PURSUANT TO 28 U.S.C. SECTION 1746


      1.    My name is Deborah Laufer. I am currently a resident of Pasco County, Florida. I

            am unable to engage in the major life activity of walking more than a few steps

            without assistive devices. Instead, I am bound to ambulate in a wheelchair or with

            a cane or other support and have limited use of my hands. I am unable to tightly

            grasp, pinch and twist of the wrist to operate. I am also vision impaired. When

            ambulating beyond the comfort of my own home, I must primarily rely on a

            wheelchair. I require accessible handicap parking spaces located closest to the

            entrances of a facility. The handicap and access aisles must be of sufficient width

            so that I can embark and disembark into a vehicle. Routes connecting the

            handicap spaces and all features, goods and services of a facility must be level,

            properly sloped, sufficiently wide and without cracks, holes or other hazards that

            can pose a danger of tipping, catching wheels or falling. These areas must be free

            of obstructions or unsecured carpeting that make passage either more difficult or

            impossible. Amenities must be sufficiently lowered so that I can reach them. I


                                              1
Case 2:20-cv-00103-LGW-BWC Document 7-1 Filed 11/17/20 Page 2 of 5



       have difficulty operating door knobs, sink faucets, or other operating mechanisms

       that tight grasping, twisting of the wrist or pinching. I am hesitant to use sinks that

       have unwrapped pipes, as such pose a danger of scraping or burning my legs.

       Sinks must be at the proper height so that I can put my legs underneath to wash

       my hands. I require grab bars both behind and beside a commode so that I can

       safely transfer and I have difficulty reaching the flush control if it is on the wrong

       side. I have difficulty getting through doorways if they lack the proper clearance.

       To use a pool, I require a lift or other accessible means. When sleeping in a guest

       room, I need a compliant tub or shower with required grab bars and a shower

       chair.

 2.    When looking at a hotel online reservation service, I need information so that I

       can ascertain whether or not the hotel and its guest rooms are accessible to me.

       This includes information whether the conditions referenced above are compliant.

 3.    In the past, I have observed that the vast majority of hotel online reservations

       services do not allow for booking of accessible rooms or provide the information I

       need to make an informed choice. I have also booked a room at hotels whose

       websites claim they are “accessible”, only to find that this claim is untrue.

       Therefore, I cannot make plans to travel if I intend to stay in an accessible room at

       an accessible hotel. The failure of so many hotels to comply with the law in this

       regard deter me from making travel plans. Therefore, I am an advocate on behalf

       of both myself and other similarly situated disabled persons and consider myself a

       tester. As a tester, I visit hotel online reservations services to ascertain whether


                                          2
Case 2:20-cv-00103-LGW-BWC Document 7-1 Filed 11/17/20 Page 3 of 5



       they are in compliance with the Americans With Disabilities Act. In the event that

       they are not, I request that a law suit be filed to bring the website into compliance

       with the ADA so that I and other disabled persons can use it.

 5.    I have traveled to Georgia approximately 20 times and have been all over the

       State. This includes six visits in the past five years. I frequently stay in a a hotel

       when I go up. I plan to return to Georgia, travel around the entire state, and stay in

       hotels as soon as the Covid crisis is over. I have had these plans since long before

       I filed this action. When I can return, I need to review the online reservations

       services of Georgia hotels so that I can make meaningful choices and plan my trip.

       The failure of this hotel to provide the required information impairs my ability to

       make my travel plans.

 6.    Rooms for the Sleep Inn Baxley GA,417 E Parker St,Baxley, Georgia , can be

       booked through an online reservations service, including www.booking.com,

       www.agoda.com, www.trip.com, www.cheaptickets.com, www.travelocity.com,

       www.reservations.com, and www.hotels.bookety.com. Prior to filing this civil

       action, on 9.18.20, 9.20.20, 9.22.21, 9.23.20, and 9.29.20, I visited this online

       reservations service. I visited the online reservation service for the Defendant’s

       hotel for the purpose of reviewing and assessing the accessible features at the

       hotel and ascertain whether the websites contain the information required by 28

       C.F.R. Section 36.302(e) and adequately informs me as to whether the hotel

       meets my accessibility needs. I was in my own home in Pasco County when I

       visited these websites. However, I was unable to do so because Defendant failed


                                          3
Case 2:20-cv-00103-LGW-BWC Document 7-1 Filed 11/17/20 Page 4 of 5



       to comply with the requirements set forth in 28 C.F.R. Section 36.302(e). As a

       result, I was deprived the same services available to the general public. The

       websites do not identify any accessible rooms, provide for booking of accessible

       rooms or contain any information as to whether any rooms or features at the hotel

       are accessible. True and correct screenshots taken of the hotels online reservations

       system at the time I visited it prior to the filing of this action are attached hereto as

       Exhibit A-1. Subsequent to filing this action, I revisited the hotel’s online

       reservations service on 11.5.20.

 7.    When I encountered the above conditions, I suffered humiliation and frustration at

       being treated like a second class citizen, being denied equal access and benefits to

       the goods, facilities, accommodations and services. I am deterred from returning

       to the websites because I understand that it would be a futile gesture to do so

       unless I am willing to suffer further discrimination. I am aware that defendant

       segregates against me and other disabled persons by offering them one service: me

       a lesser service.. I am aware that I am being deprived the equality of opportunity

       afforded to non-disabled persons to utilize the online reservation service free of

       discrimination. I am also aware that my ability to travel free of discrimination and

       with equal access to information offered to the general public is diminished.

 8.    I have a system to ensure that I revisit the online reservations services for every

       hotel I sue. In this regard, I maintain a list of each hotel I have sued. I constantly

       go through this list and add to it. With respect to each hotel I sue, shortly after the

       complaint is filed, I revisit the hotel’s online reservations service. I also


                                          4
     Case 2:20-cv-00103-LGW-BWC Document 7-1 Filed 11/17/20 Page 5 of 5



               periodically go down my entire list of hotels and revisit the online reservations

               services for all such hotels. In accordance with this system, I already revisited the

               online reservations system for this hotel. Once a case is settled, I mark the date on

               my list when the defendant has agreed to fix its websites or when it is otherwise

               required to become compliant. When that date arrives, I revisit it again and record

               my visits. Thus, I revisit each hotel’s online reservations service multiple times

               times after a lawsuit is filed. In this case and pursuant to my system, I visited the

               hotel’s online reservations service multiple times before the case was filed and

               again after this suit was filed pursuant to my system. I plan to again revisit the

               hotel’s online reservations service as soon as it is required to become compliant,

               either by Court order or by settlement agreement.

Pursuant to 28 U.S.C. Section 1746, I declare, certify, verify, and state, under penalty of perjury

that the foregoing is true and correct.

Date: _________
        11.17.20                              __________________________________
                                                      DEBORAH LAUFER




                                                                           5
